Case 1:20-cv-21091-XXXX Document 1 Entered on FLSD Docket 03/12/2020 Page 1 of 8



                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                                          CASE NO.:

  FLORIDA FAIR                HOUSING
  ALLIANCE, INC.,

         Plaintiff,

  v.

  JAPANESE GARDEN MOBILE ESTATES,
  INC. d/b/a THE COURTYARDS OF SOUTH
  TAMPA,

        Defendant.
  _______________________________________/

                            COMPLAINT AND DEMAND FOR JURY TRIAL
                                 INJUNCTIVE RELIEF SOUGHT

         Japanese Garden Mobile Estates, Inc., considers rehabilitated citizens undeserving of equal

  protection. Through its operational practices and policies, Japanese Garden Mobile Estates, Inc.

  thwarts the protections afforded by the Fair Housing Act individuals that have paid their debt to

  sociality. Through the above-captioned action, Florida Fair Housing Alliance, Inc., seeks to relieve

  Japanese Garden Mobile Estates, Inc., of its antiquated practices, and in so doing, ensure equal

  housing rights to all – and in light thereof:

         Plaintiff FLORIDA FAIR HOUSING ALLIANCE, INC. (“FFH Alliance”) sues Defendant

  JAPANESE GARDEN MOBILE ESTATES, INC. d/b/a THE COURTYARDS OF SOUTH

  TAMPA (“Defendant”) for violating 42 U.S.C. § 3601 et seq., the Fair Housing Act.

                                           JURISDICTION AND VENUE

         1.         Jurisdiction of this Court arises under 42 U.S.C. § 3613(a), 28 U.S.C. § 1331, and

  28 U.S.C. § 1337.

                                                                                                                   PAGE | 1 of 8
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Case 1:20-cv-21091-XXXX Document 1 Entered on FLSD Docket 03/12/2020 Page 2 of 8



          2.          Venue in this District is proper because the subject property is located in this

  district, Plaintiff FFH Alliance resides in this district, Defendant transacts business in this district,

  and the complained conduct of Defendant occurred in this district.

                                                            PARTIES

          3.          Plaintiff FFH Alliance is a fair housing advocacy organization and non-profit

  corporation formed in Florida and headquartered in Miami-Dade, Florida. FFH Alliance offers a

  variety of programs and services designed to advance fair housing in Florida. To advance its

  mission of ensuring equal access to housing for all, FFH Alliance engages in education and

  outreach; provides counseling to individuals facing discrimination; works with local and federal

  officials to enhance fair housing laws and their enforcement; undertakes investigations to

  uncover unlawful discrimination; and, when necessary, initiates enforcement actions.

          4.          Defendant is a Florida limited liability company, with its principal place of business

  located in Clearwater, Florida.

                                             DEMAND FOR JURY TRIAL

          5.          Plaintiff FFH Alliance, respectfully, demands a trial by jury on all counts and issues

  so triable.

                                               FACTUAL ALLEGATIONS

          6.          On March 02, 2020, the FFH Alliance investigated the “The Courtyards of South

  Tampa” apartment community, located at 3814 W Euclid Ave, Tampa, FL 33629, (the “Complex”)

  owned by Defendant for discriminatory housing practices.

          7.          As part of this investigation, the FFH Alliance directed one of its agents/employees,

  a Hispanic/Latino male with a felony conviction by the name of Ryan Turizo (“Mr. Turizo”), to

  test the Complex for unlawful discriminatory housing practices. In this capacity, Mr. Turizo

                                                                                                                     PAGE | 2 of 8
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Case 1:20-cv-21091-XXXX Document 1 Entered on FLSD Docket 03/12/2020 Page 3 of 8



  contacted the Complex, posed as a potential rental applicant, and inquired into the available rental

  property Defendant holds open to the public for rent (the “Dwelling”).

         8.          As part of Plaintiff FFH Alliance’s investigation into potential discrimination in the

  housing market by Defendant, Mr. Turizo to inquired into Defendant’s policy regarding the

  criminal record of applicants applying to rent the Dwelling, to which Defendant responded by

  stating a felony criminal record would result in an automatic denial of an applicant seeking to rent

  the Dwelling.

         9.          Defendant’s statement clearly indicates that the rental of the Dwelling is subject to

  a blanket prohibition regarding an applicant’s felony criminal history, which is unlawful under the

  Fair Housing Act, as it has a disparate impact on Hispanic/Latino people, and fails to serve a

  substantial, legitimate, nondiscriminatory interest of Defendant.

         10.         The actions and statements of Defendant, inter alai, the practice and/or policy to

  automatically deny any prospective individual with a felony criminal record, serves to discourage

  Black and Hispanic/Latino individuals with a criminal record from applying, inspecting, and

  renting the Dwelling, and otherwise restrict the choices of these individuals in connection with

  attempts to seek, negotiation for, and ultimately rent the Dwelling.

         11.         The harm inflicted by discriminatory criminal records policies like Defendants’ is

  significant, not only in terms of the sheer number of people affected, but also in terms of the

  consequences for the wellbeing of our communities. In fact, securing safe and affordable housing

  is a particularly crucial need for individuals reentering their communities immediately after time

  in prison.

         12.         Research shows that success in finding adequate housing is critically important to

  allowing reentrants to secure employment, government benefits, and other community ties.

                                                                                                                    PAGE | 3 of 8
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Case 1:20-cv-21091-XXXX Document 1 Entered on FLSD Docket 03/12/2020 Page 4 of 8



  Housing has been characterized, properly, as the “lynchpin that holds the reintegration process

  together.”1 As another expert put it, “[t]he search for permanent, sustainable housing portends

  success or failure for the entire reintegration process.”2

         13.       Critically, the policy of Defendant to automatically deny any prospective individual

  with a felony criminal record perpetuates segregated housing patterns and discourages and/or

  obstructs choices in the applicable community, neighborhood, and/or development. As such, the

  actions of Defendant consuetude efforts to deprive Black and Hispanic/Latino individuals of

  housing opportunities.

         14.       On April 4, 2016, the U.S. Department of Housing and Urban Development

  (“HUD”) issued a document titled “Office of General Counsel Guidance on Application of Fair

  Housing Act Standards to the Use of Criminal Records by Providers of Housing and Real Estate-

  Related Transactions” (the “Guidance”). A copy of the Guidance is attached as Exhibit “A.”

         15.       The Guidance noted that “criminal history-based restrictions on access to housing

  are likely disproportionately to burden African Americans and Hispanics.” Id. HUD found that

  “where a policy or practice that restricts access to housing on the basis of criminal background has

  a disparate impact on individuals of a particular race … such policy or practice is unlawful under

  the Fair Housing Act if it is not necessary to serve a substantial, legitimate, nondiscriminatory

  interest of the housing provider.” See HUD Guidance. Ultimately, HUD concluded that “a

  discriminatory effect resulting from a policy or practice that denies housing to anyone with




  1
   Jeremy Travis, But They All Come Back: Facing Challenges of Prisoner Reentry 219 (2005)
  2
    Barbara H. Zaitzow, We’ve Come a Long Way, Baby...Or Have We? Challenges and
  Opportunities for Incarcerated Women to Overcome Reentry Barriers 233 (in Global Perspectives
  on Re-Entry (2011)).
                                                                                  PAGE | 4 of 8
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Case 1:20-cv-21091-XXXX Document 1 Entered on FLSD Docket 03/12/2020 Page 5 of 8



  a prior arrest or any kind of criminal conviction cannot be justified, and therefore such a

  practice would violate the Fair Housing Act.” Id. (emphasis added).

         16.       According to recent data, studies and HUD findings, Hispanic/Latino people are

  arrested, convicted, and imprisoned at vastly disproportionate rates in Florida and the country as a

  whole. As such, Defendant's policy actually and predictably results in a disparate impact to

  Hispanic/Latino people.

         17.       Defendant’s policy regarding the criminal history of applicants seeking to rent,

  utilize, or otherwise occupy the Dwelling is unlawful under the Fair Housing Act, as it has a

  disparate impact on individuals of Hispanic/Latino heritage and/or descent.

         18.       HUD has found that no substantial, legitimate, nondiscriminatory interest can be

  served where “[a] housing provider … imposes a blanket prohibition on any person with any

  conviction record – no matter when the conviction occurred, what the underlying conduct entailed,

  or what the convicted person has done since then.” Id.

         19.       Defendant’s blanket prohibition regarding an applicant’s felony criminal history is

  unlawful under the Fair Housing Act, as it has a disparate impact on Hispanic/Latino people, and

  fails to serve a substantial, legitimate, nondiscriminatory interest of the housing provider.

         20.       Consistent with Plaintiff FFH Alliance’s fair housing testing efforts, FFH

  Alliance’s has a practice of continuing to monitor and test those entities and individuals found to

  have been engaged in discriminatory housing practices. As such, FFH Alliance’s will continue

  monitoring Defendant, and Defendant’s agents, in order to determine its (Defendant’s) ongoing

  compliance with the Fair Housing Act.




                                                                                                                  PAGE | 5 of 8
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Case 1:20-cv-21091-XXXX Document 1 Entered on FLSD Docket 03/12/2020 Page 6 of 8



                                            COUNT I.
                               VIOLATION OF THE FAIR HOUSING ACT

         21.       Plaintiff FFH Alliance incorporates by reference paragraphs 1-20 of this Complaint

  as though fully stated herein.

         22.       Defendant is liable to Plaintiff for all injuries caused by the Fair Housing Act

  violations committed by Defendant and the agents of Defendant.

         23.       Defendant authorized its agents to act for it (Defendant) when Defendant’s agents

  committed the Fair Housing Act violations alleged herein. The agents of Defendant accepted the

  undertaking of acting on behalf of Defendant when the they (Defendant’s agents) committed the

  Fair Housing Act violations alleged herein. Defendant had control over its (Defendant’s) agents

  when said agents committed the Fair Housing Act violations alleged herein.

         24.       In light of the aforementioned factual allegations and HUD findings: [1]

  Defendant’s criminal history policy and/or practice is arbitrary, artificial, and unnecessary to

  achieve a valid interest or legitimate objective such as a practical business, profit, policy

  consideration, or requirement of law; [2] there is a robust causal link between the challenged policy

  or practice and a disparate impact on Hispanic/Latino people that shows the specific practice is the

  direct cause of the discriminatory effect; [3] the disparity caused by the policy and/or practice is

  significant; and [4] there is a direct link between the disparate impact and Plaintiff’s injury.

         25.       Defendant has violated the Fair Housing Act by, inter alia, making unavailable

  and/or otherwise denying the Dwelling to individuals on the basis of race and/or criminal record.

         26.       A discriminatory purpose, and not any legitimate reason, was a motivating factor

  behind Defendant’s policy regarding the criminal history of applicants seeking to rent, utilize, or

  otherwise occupy the Dwelling.


                                                                                                                  PAGE | 6 of 8
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          27.      As a result of Defendant’s discriminatory conduct - committed despite being

  engaged in the business of real estate, coupled with Plaintiff’s ongoing monitoring efforts -

  Plaintiff has suffered, is continuing to suffer, and will in the future suffer irreparable loss and injury

  and a real and immediate threat of future discrimination by Defendant.

          28.      Defendant’s unlawful conduct and actions constitute discrimination and

  proximately caused Plaintiff’s damages as described above.

          29.      In engaging in this unlawful conduct described above, Defendant acted recklessly

  or intentionally. This is evidenced, in part, by the fact that Defendant is engaged in the real estate

  business and are licensed real estate professionals, who have been educated, trained, and tested in

  fair housing laws, nonetheless chose to engage in unlawful discrimination.

          30.      Plaintiff has been treated in a discriminatory fashion by Defendant and has suffered

  an injury in precisely the form the Fair Housing Act was intended to guard against, thus, Plaintiff

  FFH Alliance has standing to maintain this action against Defendant under the Fair Housing Act’s

  provisions.

          31.      Accordingly, Plaintiff FFH Alliance is aggrieved by the discrimination actions of

  Defendant in violation the Fair Housing Act.

          32.      WHEREFORE, Plaintiff FFH Alliance, respectfully, requests that this Court:

                   (a)       Declare the above-mentioned actions, omissions, polices, and procedures,
                             of Defendant to be in violation of the Fair Housing Act;

                   (b)       Award damages to Plaintiff against Defendant;

                   (c)       Award punitive damages to Plaintiff in an amount to be determined by the
                             jury that would punish Defendants for the willful, malicious, and reckless
                             conduct alleged herein and that would effectively deter similar conduct in
                             the future;

                   (d)       Enter a permanent injunction enjoining Defendant from discriminating
                             against individuals on the basis of race and/or criminal history;
                                                                                                                  PAGE | 7 of 8
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                (e)       Enter a permanent injunction compelling Defendant to amend its
                          (Defendant’s) polices, procedures, and practices, that discriminate against
                          individuals on the basis of race and/or criminal history;

                (f)       Award Plaintiff costs and reasonable attorneys’ fees; and

                (g)       Any other relief that this Court deems appropriate and just under the
                          circumstances.
        DATED: March 12, 2020
                                                              Respectfully Submitted,

                                                               /s/ Jibrael S. Hindi                                   .
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